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             Exhibit “1”
                 Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 2 of 10
12593301032022                Armstrong County Prothonotary                         Page     1
     PYSPRT                       Civil Case Detail Report                           1/03/2022
Case No........... 2021-01329    JESSICA SWEENEY (vs) ACCOUNT RESOLUTION SERVICES
Reference No......                                              Filed..........     11/08/2021
Case Type......... MISCELLANEOUS - OTHER                        Time...........           9:29
Judgment..........               $.00                           Execution Date.      0/00/0000
Judge Assigned....                                              Jury Trial.....
Disposed Desc.....                                              Disposed Date..      0/00/0000
------------ Case Comments ------------                         Higher Crt 1...
                                                                Higher Crt 2...

******************************************************************************************
                                    ++ GENERAL INDEX ++
Indexed Party                                             Attorney Info
SWEENEY JESSICA                      PLAINTIFF            MITCHELL KURT D ESQUIRE
                                                            475 CENTRAL AVENUE
                                                            SUITE 400-H
                                                            ST PETERSBURGH, FL 33701
HEALTHCARE REVENUE RECOVERY            DEFENDANT
GROUP LLC DBA
  SUNRISE, FL 33323
ARS ACCOUNT RESOLUTION                 DEFENDANT
SERVICES
  SUNRISE, FL 33323
******************************************************************************************
                                   ++ DOCKET ENTRIES ++
  Date       Entry Text
             - - - - - - - - - - - - - FIRST ENTRY - - - - - - - - - - - - - -
11/08/2021   COMPLAINT FOR DAMAGES FILED BY KURT D. MITCHELL, ESQ. ON BEHALF OF
             PLAINTIFF. 1 CERTIFIED COPY GIVEN TO KURT D. MITCHELL, ESQ.
             -------------------------------------------------------------------
12/20/2021   NOTICE OF FILING THE AFFIDAVIT OF SERVICE FILED BY KURT D.
             MITCHELL, ESQ ON BEHALF OF THE PLAINTIFF.
             - - - - - - - - - - - - - - LAST ENTRY - - - - - - - - - - - - - -
******************************************************************************************
                                  ++ Escrow Information ++
Cost / Fee                        Beg. Balance      Pymts/Adjmts      End. Balance
TAX ON CMPLT                             $.50               $.50             $.00
JCS/ATJ FEE                            $40.25            $40.25              $.00
AUTOMATION FEE                          $5.00              $5.00             $.00
COMPLAINT FILED                        $99.50            $99.50              $.00
                                  ------------      ------------      ------------
                                      $145.25           $145.25              $.00
******************************************************************************************
                                  End of Case Information
Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 3 of 10
Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 4 of 10
Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 5 of 10
Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 6 of 10
Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 7 of 10
    Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 8 of 10




IN THE COURT OF COMMON PLEAS OF ARMSTRONG COUNTY PENNSYLVANIA


Jessica Sweeney                                ) Case No.: 2021-1329-CIV
     PLAINTIFF,                               ) CIVIL ACTION
       vs.                                     ) COMPLAINT

HealthCare Revenue Recovery Group, LLC




                                                                                                     CS :01101 OZ 330 Mt
d/b/a ARS Account Resolution Services                                               •
                                                                                         ,cf.11F,

               DEFENDANT.


                                                                                   --*
                                                                                         •Fm:Irt •
                  NOTICE OF FILING THE AFFIDAVIT OF SERVICE
       Plaintiff through undersigned counsel hereby gives notice of filing the affidavit of

Service to HealthCare Revenue Recovery Group, LLC. receiving the affidavit, and such is
attached as exhibit A.




                                                      F      Respectfully submitted,
                                                           A/44P 7rtdisidE
                                                            Kurt D. Mitchell
                                                            KDM Law Firm PLLC
                                                            PA. Bar No.: 205917
                                                           475 Central Ave Suite 400-H
                                                           St. Petersburg FL 33701
                                                           941.465.9253
                                                           kmitchell@hoglaw.com
                                                           Attorney for Plaintiff
Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 9 of 10




                 CERTIFICATE OF COMPLIANCE

     I certify that this filing complies with the
provisions of the Public Access Policy of the Unified
Judicial System of Pennsylvania: Case Records of the
Appellate and Trial Courts that require filing confidential
information and documents differently than non-confidential
information and documents.


                           Submitted by: Plaintiff
                           Signature:          7rSig Idi
                           Name: Kurt D. Mitchell
                           Attorney No. (if applicable):205917
               Case 2:22-cv-00040-MJH Document 1-2 Filed 01/06/22 Page 10 of 10

                                                                 EXHIBIT A
                                                         RETURN OF SERVICE

Commonwealth of Pennsylvania                                  County of Armstrong                                               Common Pleas Court

Case Number: 2021-1329-CIV

Plaintiff:                                                                                                              111 111111111E1111111111
JESSICA SWEENEY
vs.

Defendant:
HEALTHCARE REVENUE RECOVERY GROUP, LLC D/B/A ARA ACCOUNT
RESOLUTION SERVICES

For:
KURT MITCHELL
KDM LAW FIRM, PLLC
475 CENTRAL AVENUE
SUITE 400-H
ST. PETERSBURG, FL 33701

Received by OJF SERVICES, INC. on the 3rd day of December, 2021 at 11:57 am to be served on HEALTHCARE
REVENUE RECOVERY GROUP,LLC,1643 NORTH HARRISON PARKWAY, BUILDING H SUITE 100, SUNRISE, FL
33323.

I, BRIAN HALL, do hereby affirm that on the 9th day of December,2021 at 2:00 pm, I:

.CORPORATE: served by delivering a true copy of the NOTICE TO DEFEND-CIVIL AND COMPLAINT with the date and
 hour ofservice endorsed thereon by me,to: SHERRY GOLDEN as EMPLOYEE of HEALTHCARE REVENUE RECOVERY
GROUP,LLC 1643 NORTH HARRISON PARKWAY,BUILDING H SUITE 100,SUNRISE,FL 33323,and informed said
 person of the contents therein. Service was completed on the named individual after due diligence to locate the registered agent or any
other officer for HEALTHCARE REVENUE RECOVERY GROUP,LLC without success. This service is in compliance with
 Federal Rules of Civil Procedure, Florida Statute 48.081 or other state statute as applicable.



Description of Person Served: Age: 65, Sex: F, Race/Skin Color: White, Height: 5'7, Weight: 150, Hair: Grey, Glasses: N

I CERTIFY THAT I AM OVER THE AGE OF 18, HAVE NO INTEREST IN THE ABOVE ACTION, AND THAT I AM A
SPECIAL PROCESS SERVER APPOINTED BY THE SHERIFF, IN GOOD STANDING, IN THE JUDICIAL CIRCUIT IN
WHICH PROCESS WAS SERVED."UNDER PENALTY OF PERJURY, I DECLARE THAT I HAVE READ THE
FOREGOING(DOCUMENT)AND THAT THE FACTS STATED IN IT ARE TRUE, 92.525. ELECTRONIC SIGNATURES
ARE NOW PERMITTED PURSUANT TO FLORIDA STATUTE 48.21. NOTARY ARE NOT REQUIRED PURSUANT TO
F.S. 92.525(2).




                                                                                                 BRIAN HALL
                                                                                                 SPS# 1216

                                                                                                 OJF SERVICES,INC.
                                                                                                 13727 S.W. 152nd Street
                                                                                                 P.M.B. 354
                                                                                                 Miami, FL 33177
                                                                                                (786)293-5750

                                                                                                  Our Job Serial Number. OJF-2021021030


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